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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

LUXOTTICA GROUP S.p.A.
and OAKLEY, INC., Case No. 18-cv-05194

Plaintiffs, Judge Manish Ss. Shah

Vv. \
Magistrate Judge Michael T. Mason

YAOLONG HE, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on November 1, 2018 [57] in
favor of Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (collectively, “Plaintiffs”) and
against the Defendants Identified in Schedule A in the amount of two hundred thousand dollars
($200,000) per Defaulting Defendant for willful use of counterfeit Plaintiffs’ Trademarks in
connection with the offer for sale and/or sale of products through at least the Defendant Internet
Stores, and Plaintiffs acknowledge payment of an agreed upon damages amount, costs, and
interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

 

Defendant Name Line No.

 

 

 

2017sunglasses 909

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 17th day of May 2019. Respectfully submitted,

Bekhe Zo

Amy C. Ziegler

Justin R. Gaudio

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Counsel for Plaintiffs
Luxottica Group S.p.A and Oakley, Inc.

Subscribed and sworn to me by RikKaleigh C. Johnson, on this 17th day of May 2019.

Given under by hand and notarial seal.

(} J
CAITLIN SCHLIE Wyn Y

Official Seal Notary Public

Notary Public - State of Ilinais
My Commission Expires Nov 20, 2021

 

State of Illinois

County of Cook
